Case 1:21-cv-00800-RMB-AMD Document 101 Filed 08/30/22 Page 1 of 2 PageID: 4838

                                                                [Docket Nos. 74, 86]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE


   AFFINITY HEALTHCARE
   GROUP VOORHEES, LLC and
   DR. KENNETH BROWN,
                                             Civil No. 21-800 (RMB/AMD)
                Plaintiffs,

           v.                                          ORDER

   THE TOWNSHIP OF
   VOORHEES, et al.,

                Defendants.


 BUMB, U.S. District Judge

       This matter comes before the Court upon the parties’ cross motions for

 summary as to all counts of the Complaint. [Docket Nos. 74, 86.] For the reasons set

 forth in the accompanying Opinion of today’s date,

       IT IS this 30th day of August 2022, hereby

       ORDERED that Plaintiffs’ Motion for Summary Judgment [Docket No. 74]

 is DENIED; and it is further

       ORDERED that Defendants’ Motion for Summary Judgment [Docket No.

 86] is GRANTED; and it is further

       ORDERED that the Clerk of the Court shall CLOSE THIS CASE; and it is

 further

       ORDERED that if Plaintiffs choose to pursue a motion for reconsideration
Case 1:21-cv-00800-RMB-AMD Document 101 Filed 08/30/22 Page 2 of 2 PageID: 4839




 pursuant to L. R. Civ. P. 7.1, including with respect to their proffer that there is

 outstanding discovery, Plaintiffs must clearly set forth the following in their motion:

 (1) an explanation as to why they did not previously comply with the requirements of

 Fed. R. Civ. P. 56(c); (2) what fact(s) additional discovery would show; (3) how such

 additional fact(s) would advance their claim(s); and (4) what particular part(s) of the

 record support(s) their assertion regarding outstanding discovery.



                                                 s/Renée Marie Bumb
                                                 Renée Marie Bumb
                                                 U.S. District Judge




                                             2
